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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


  IN RE VALSARTAN,
  LOSARTAN, AND                                     MDL No. 2875
  IRBESARTAN PRODUCTS
  LIABILITY LITIGATION
                                             HON. ROBERT B. KUGLER
                                              CIVIL NO. 19-2875 (RBK)
  THIS DOCUMENT RELATES TO
  ALL CASES




                 PLAINTIFFS’ BRIEF IN OPPOSITION TO
                ZHP DEFENDANTS’ MOTIONS IN LIMINE
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                                     MOTIONS

     1. ZHP’s motion regarding internal communications on regulatory issues.

        ZHP’s motion focuses on two instances in which Prinston’s head of quality,

  Remonda Gergis, criticized ZHP’s lack of cGMP compliance. ZHP’s inadequate

  overall approach to quality and the fact that Prinston was on notice of ZHP’s

  inadequate overall approach to quality are relevant facts. There is nothing unduly

  prejudicial in showing the jury that these issues were recognized years before ZHP’s

  cGMP failures with the valsartan products. If the Court has any concerns, at the

  least this information should be permitted if ZHP makes (and is permitted to make)

  any statements about its quality record or adherence to cGMPs in general.

     2. ZHP’s motion regarding destruction of inadequately tested batches of
        valsartan API.

        ZHP paints its August 2017 destruction of an out of specification (“OOS”)

  batch—meaning it failed to meet specifications—of valsartan as a routine non-event.

  ZHP emphasizes that this “was almost a year before ZHP first learned that its

  valsartan API contained NDMA. . . As a result, there is no evidence that ZHP had a

  duty to retain these OOS samples of valsartan API in August 2017, and certainly no

  reason to suggest that ZHP acted improperly in discarding valsartan batches C5191-

  17-023/024.” (ZHP Br. 4).




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        However, that logic is built on a false foundation since this deviation

  investigation began on August 2, 2017—after Jinsheng Lin sent his July 27, 2017

  email confirming that there was NDMA in the valsartan and identified the root cause.

  That email was sent to Jucai Ge, the head of quality assurance, Linda Lin, the head

  of regulatory, Min Li, the head of CEMAT where Mr. Lin worked, and Peng Dong,

  the head of the technical department, among others. ZHP’s explanation is not

  credible or faithful to the facts, and certainly is not a reason to withhold this

  document from the jury.

        The crux of the issue is that ZHP inadequately evaluated the OOS finding in

  a commercial batch of valsartan API beginning on August 2, 2017. ZHP never

  identified the impurity due to inadequate testing, and did not identify the root

  cause, even though ZHP was required by the controlling SOP,



                                                                          Then ZHP

  inexplicably destroyed this OOS batch on August 22, 2017. (Jucai Ge 4/28/21 Dep.

  Tr., 164:13-24, 165:16-166:11, 174:6-175:6, 176;11-14, 180:21-182:5, 182:16-

  183:4 (Ex. 37)).1 This is a highly relevant snapshot of ZHP’s inadequate approach

  to quality overall, and the context within which ZHP failed to prevent the



  1
   Unless otherwise noted, the exhibits cited in this brief are attached to Adam M.
  Slater’s certification in opposition to Defendants’ motions in limine.

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  contamination of the valsartan API.

        Also unstated in ZHP’s motion is that the FDA cited the destruction of this

  API batch in the Establishment Inspection Report against ZHP (“EIR”):

        OBSERVATION 3

        The system for managing quality to ensure confidence that the API
        will meet its intended specifications for quality and purity is not
        adequate in that your quality unit lacks written procedures and the
        authority and responsibility to ensure all critical deviations are
        thoroughly investigated.

        Specifically,
                                      ***
        b) major Deviation DDW02-17003 was initiated August 2, 2017 and
        closed September 11, 2017 for Valsartan batches D5191-17-023 and
        D5191-17-024 with OOS results for a single unknown impurity
        (specification < 0.10%). You confirmed OOS results for Valsartan
        batches D5191-17-023 single unknown impurity 0.33%, and DS191-
        17-024 single unknown impurity 0.38%.

        i) you did not identify a root cause for the single unknown impurity
        results in batches D5191-17-023 and DS191-17-024. You stated the
        root cause was probably due to occasional fluctuation in your
        manufacturing process. You did not attempt to identify this single
        unknown impurity. You did not attempt to identify the source of
        fluctuations in your manufacturing process for Valsartan.

        ii) you did not develop an adequate Corrective Action and
        Preventive Action (CAPA) plan. ….

        iii) you did not conduct a thorough risk assessment. ….
                                         ***
        Supporting Evidence and Relevance
                                        * * *
        I asked Mr. Dong if the firm attempted to identify the single unknown
        impurity. Mr. Dong stated no. I asked Mr. Jinyi Li, QA Manager West
        Zone, if the firm identified the single unknown impurity. Mr. J. Li

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        stated no. Mr. J. Li further stated historically it is a small peak so the
        firm thinks it is an isolated case. Dr. Li stated it is not necessary to
        identify a single unknown impurity at this level.
                                          * * *
        Deviation DDW02-17003 did not include investigation of the raw
        material used in the manufacture of Valsartan to review the quality
        of the raw materials or identify any OOT raw material test results.
                                          * * *
        I asked Mr. Dong if the firm attempted to identify the source of
        fluctuation in the firm’s manufacturing process for Valsartan. Mr.
        Dong stated no, the firm reviewed the batch record and did not identify
        any abnormalities. The firm identified a set of possible factors that may
        impact the size of the single unknown impurity. I asked Mr. Dong if the
        firm proved or disproved the firm’s hypothesis regarding the possible
        factors that may impact the size of the single unknown impurity. Mr.
        Dong stated no. I asked Mr. Dong if the firm performed any additional
        cleaning in response to this investigation. Mr. Dong stated no.

  (PRINSTON00162382-162386 (emphasis added) (Ex. 20)). Thus, the FDA heavily

  criticized ZHP’s conduct in this exact instance with regard to valsartan.

        Moreover, this was a long-standing, ongoing cGMP problem with ZHP.




                                                         (Hai Wang 3/11/21 Dep. Tr.,

  559:4-8, 559:12-560:16 (Ex. 38)). Then, “When an out of specification result is

  obtained, current practice is [to] conduct a primary investigation, if no assignable

  cause is found, a process is filed and it’s discussed there…The above practice reveals



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  major misinterpretation to the FDA guideline of the out of specification testing…”

  (Id. at 562:9-14, 562:17, 562:19-563:4). This is exactly what happened in August

  2017, and is what the FDA pointed to in the EIR. This systemic problem that ZHP

  failed to rectify is not mentioned by ZHP in its motion, which is framed as if the

  deviation investigation deficiencies were an isolated, onetime event (as if that would

  be exculpatory, which it would not be anyway). ZHP’s vague threat that if this is

  raised, there will be a mini-trial on this action is of no moment. There is no

  explanation for why that would be problematic. ZHP’s failure to adequately

  evaluate OOS findings, as part of its overall failure to adequately evaluate the quality

  of the products it was manufacturing, and ill-conceived decision to destroy the entire

  batch without first complying with ZHP’s own SOP requiring identification of the

  impurity and root cause, is relevant and presents no issues under F.R.E. 403.

     3. ZHP’s motion regarding the Charles Wang/Jim McDonald emails.

        ZHP’s motion is premised on a disingenuous presentation of the issue and the

  testimony from Min Li as to what occurred. On that basis, ZHP argues that Charles

  Wang was not acting as ZHP’s agent—even though he was hired and paid by ZHP

  to advise it on the toxicity of NDMA and to draft ZHP’s position on the issue. ZHP

  also ignores the fact that the testimony by Min Li documents ZHP’s understanding

  of the risk level with NDMA, and the information available to the company in

  making its decisions on how to approach the upcoming meeting with the FDA—in


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  which ZHP hoped to convince the FDA to let ZHP continue to sell its contaminated

  API. Even if hearsay, which it is not, it would be admissible under the business

  records, state of mind, and notice exceptions to the hearsay rules, since it shows the

  information that was available to ZHP in charting its path forward.

        The full facts are straightforward. On June 5/6, 2018, Min Li contacted

  Charles Wang, who was a toxicologist and the Director of the Safety Assessment

  group at another pharmaceutical company, GlaxoSmithKline. (Min Li 4/22/21 Dep.

  Tr. 538:20-539:10, 539:13-23, 540:1-3, 575:15-576:11 (Ex. 22)).

        Min Li knew Charles Wang and trusted him as a reliable expert in toxicology,

  and contacted him “because we received a notice and we, you know, need to have

  an expertise, you know, to evaluate from the, you know, toxicological perspective.”

  Further, “we didn’t know anybody, you know, else in terms of the, you know,

  professional toxicologist, right? And due to the urgency, you know, you know, of

  this nature, we had to, you know, invoke him, right?” (Id. at 551:15-18, 551:21-

  552:6, 552:8-16, 577:7-10, 577:13-578:5).

        Min Li sent Charles Wang a WHO article regarding the toxicology of NDMA.

  (Id. at 538:20-539:10, 540:1-9; see also ZHP02170975 (Ex. 39)). That article was

  then cited and quoted in Charles Wang’s report, and the ZHP Deviation Investigation

  Report. (ZHP01881234 (Ex. 40); ZHP00004388 (Ex. 41)).

        On June 10, 2018, Charles Wang sent Min Li a draft report as to the risk level


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  posed by NDMA, including a proposed limit of 0.011 ppm, but qualifying that

  suggestion with the caveat that, “I can take out the limit of 0.011 parts per million

  if you are unable to achieve it.” (Min Li 4/22/21 Dep. Tr. 555:1-15 (quoting

  CHARLESWANGO00290 (Ex. 42)); see also ZHP02170920 (stating,



                                  ) (Ex. 43); PRINSTON00399001 (sending Charles

  Wang arguments from customers to refute) (Ex. 44)).

        During his back and forth with Min Li, on June 22, 2018, Charles Wang

  advised that it would be helpful for him to also bring in another toxicologist with

  more specialized background as to carcinogens like NDMA: “I suggest Huahai to

  hire a carcinogenicity consultant to perform the analysis, who knows risk assessment

  of carcinogen and kept updated in regulatory guideline and standards in this field. If

  needed, I can recommend a couple to you for consideration.” (Min Li 4/22/21 Dep.

  Tr. 573:7-574:5, 574:8-13).

        Min Li agreed, and Charles Wang then reached out to Jim McDonald, a

  toxicologist with more specialized knowledge—for the purpose of advising ZHP at

  ZHP’s request. Mr. Wang wrote on July 5, 2018 stating, “Friend of mine is looking

  forward a consultant in United States to help them define their product at FDA. Give

  me a call if you are interested…" He also advised Jim McDonald in a follow-up

  email, “My friend’s company will have a face-to-face meeting with FDA to [decide,


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  sic] if they should recall their product in US market next Thursday and likes to get

  some advice from people like you quickly…their client in EU [Novartis] said [the

  limit] should be at 0.3 parts per million based on TD50 calculation…they would like

  to know if they can argue to set limit higher based on NDMA is considered a Class

  2A carcinogen (limit at threshold of toxicological concern of 1.5 micrograms per

  day) and the longest duration of human exposure in US will be less than 3 years…Let

  me know if your company can help. I will ask them to contact you directly and send

  you more details.” (Id. at 574:22-575:4, 575:7-13, 624:18-625:4, 628:22-629:4,

  630:5-13, 631:14-22).

          In this connection, Min Li confirmed, when asked, “[A]t that point you were

  aware and you had authorized Mr. Wang to find an independent consultant for

  you?” that, “It looks like, yeah, we asked him probably, you know, yeah, to go

  ahead and try to find.” (Id. at 622:15-20, 622:23-623:1). Min Li also agreed that

  “as you said earlier, you had a lot of trust in Mr. Wang, considered him to be a

  reliable expert, so you asked him to go find you the most qualified person he could

  find basically.” (Id. at 625:20-626:2).

          Jim MacDonald,2 who was told the contamination only reached 30 ppm, when

  it was actually at much higher levels, advised Charles Wang as to what he should

  tell ZHP: “NDMA (or dimethylnitrosamine) is a pretty well-known toxin and animal


  2
      Plaintiffs have served James MacDonald with a trial subpoena.

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  carcinogen…the body of evidence on this suggests pretty clearly that this is a likely

  human carcinogen at sufficient exposures…The argument that the company would

  have to make to keep this product on the market will be very difficult with this

  profile. I’m not exactly sure where one would begin given the very high levels you

  think they are seeing….I think the strategy I would probably recommend would be

  to come up with a CMC plan to remove the contaminant (at least to minimally

  detectable levels) while they recall the existing product and reformulate. I expect

  this is not what they would want to hear but, unless there is a compelling reason to

  leave this product on the market (e.g.: only product available to treat a serious, life-

  threatening disease), I would expect the FDA would ask for a recall…this is not a

  good position for this product in my view.” (Id. at632:4-633:1, 633:3-20, 638:24-

  639:19).

        This information was shared with Min Li. When asked to confirm that, “Mr.

  Wang relayed to you that he had spoken with Jim MacDonald and what the result of

  that interaction had been after he had heard from Mr. MacDonald,” Min Li

  confirmed, “I don’t remember the details. He probably talked to me verbally, at

  least.” (Id. at 639:20-24, 640:3-4). He also confirmed that this information was

  provided to Jun Du, “at a certain point, you know, he came to know.” (Id. at

  650:14-18, 650:21-24). Charles Wang told Jim MacDonald,

                                                 . (CHARLESWANG000444 (emphasis


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  added) (Ex. 42)).

        ZHP then followed Jim MacDonald’s advice, quickly moving to develop an

  “optimized” version of the zinc chloride process that would quench the sodium azide

  with sodium nitrite but only when the “product” was separated out so it would not

  become contaminated. (Ex. 45). The patent, which was filed on July 17, 2018, even

  adopts his conclusion that NDMA is a “highly toxic impurity” and describes the new

  process as “ensuring the valsartan medication safety.” (Id.).

        Min Li and Jun Du confirmed that Charles Wang was paid for this work. (Jun

  Du 5/28/2021 Dep. Tr. 278:15-279:7 (Ex. 45); ZHP00675949 (Ex. 46)).

        These facts clearly meet the standard set forth in the cases cited by ZHP. The

  first case—Sanofi v. Lupin Atl. Holdings S.A., 282 F. Supp. 3d 818, 840 (D. Del.

  2017)—concerned statements from doctors running an independent clinical study of

  a drug and held that those statements were hearsay. Here, Charles Wang was hired

  by ZHP, and was focused on giving ZHP what it was looking for—even offering to

  change his findings to raise the recommended levels allow ZHP to comply with

  them. (Min Li 4/22/21 Dep. Tr. 555:1-15 (quoting CHARLESWANGO00290 (Ex.

  Ex. 21))). He then consulted with James MacDonald after clearing that with ZHP,

  for ZHP’s purposes, and adopted James MacDonald’s objective advice as his own,

  although he was obviously willing to change that advice at ZHP’s direction.

  (CHARLESWANG000444 (emphasis added) (Ex. 42); ZHP02170920 (Ex. 43);


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  PRINSTON00399001 (Ex. 44); ZHP01881288 (stating



                                                   (emphasis added)) (Ex. 50)).3 The

  Sanofi court also failed to address whether the hearsay was admissible for any other

  purposes besides the truth of the matter asserted. As explained above, the emails are

  admissible under the state of mind and notice exceptions to the hearsay rules.

  Plaintiffs have subpoenaed Mr. MacDonald to confirm his advice and

  communications with Charles Wang in Court, invalidating any hearsay concerns.

        The second case—Mitchell v. Sun Drilling Prods., Inc., No. 95-1487, 1996



  3
    Other courts have rejected arguments like ZHP’s: “In the instant case, a large part
  of the evidence consists of emails by StreamCast CEO Michael Weiss, chairman
  Steven Griffin, chief technology officer Darrell Smith, director Bill Kallman, vice
  president for marketing Trey Bowles, network operations manager Derek Anderson,
  and software engineer Paul Panetti. StreamCast admits that these individuals served
  as its corporate officers or employees during the relevant time period. Another
  StreamCast employee, Jody Pace, was identified by Griffin's deposition testimony.
  Thus, emails sent by these individuals are all admissible non-hearsay under Rule
  801(d)(2)(D). To the extent other content is incorporated into these emails, and to
  the extent the StreamCast agent expresses approval thereof, the incorporated content
  is admissible as vicarious adoptions. See [F.R.E.] 801(d)(2)(B). The record also
  contains a number of emails from Margaux Schaffer, a graphic design professional.
  StreamCast admits that Schaffer performed work for StreamCast during the relevant
  period, but argues that Schaffer's emails do not fall within the ambit of Rule
  801(d)(2)(D) because she was an independent contractor rather than an employee.
  However, a statement is admissible under Rule 801(d)(2)(D) so long as it is made
  by an agent within the scope of agency, regardless of the precise contractual
  relationship between the agent and the party against whom the evidence is offered.
  [F.R.E.] 801(d)(2)(D).” Metro-Goldwyn-Mayer v. Grokster, 454 F. Supp. 2d 966,
  973–74 (C.D. Cal. 2006).

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  WL 411613, at *2 (E.D. La. July 22, 1996)—concerned statements of non-

  employees without any discussion of agency and disregarded the exceptions to

  hearsay without any analysis. It does not help Defendants here. Lippay v. Christos,

  996 F.2d 1490, 1498 (3d Cir. 1993), explained that “an agency relationship is

  established only where the party-opponent personally ‘directed [the declarant's]

  work on a continuing basis.’” Here, Charles Wang requested ZHP approval to

  contact James MacDonald. ZHP provided that approval. Charles Wang then

  contacted James MacDonald, with ZHP’s blessing, and adopted his advice as his

  own. Thus, throughout the relevant time period, ZHP was in control of Charles

  Wang’s efforts, making him its agent. Additionally, Plaintiffs can call James

  MacDonald to confirm the contents of his emails. ZHP’s remaining cases are equally

  distinguishable because ZHP did not hire Charles Wang for his independent advice.

        As stated above, ZHP also ignores the fact that Min Li testified to the entire

  interaction, and his knowledge of the findings and advice, and this was passed on

  internally to Jun Du as well. Thus, this information was clearly obtained and

  communicated within the company for ZHP’s purposes, is admissible, and the

  testimony about it constitutes an admission as to what ZHP did and why.

                                   CONCLUSION

        For the foregoing reasons, the Court should deny the ZHP Defendants’

  motions in limine.


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   Dated: February 26, 2024                Respectfully submitted,

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